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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

    IN RE:                           §
                                     §     CASE NO. 23-10734
    COX OPERATING, LLC,              §
                                     §      CHAPTER 7
               DEBTOR.               §
                                     §      INVOLUNTARY
                                     §
                   NOTICE OF APPEARANCE AND REQUEST
      FOR SERVICE OF PAPERS BY LOOPER GOODWINE P.C. ON BEHALF OF
         BP ENERGY COMPANY AND BP PRODUCTS NORTH AMERICA INC.

            PLEASE TAKE NOTICE that the undersigned law firm, Looper Goodwine P.C., hereby

   appears in the above-captioned case on behalf of BP Energy Company and BP Products North

   America Inc. (collectively, “BP”) pursuant to Sections 102(1), 342 and 1109(b) of Title 11 of the

   United States Code (the “Bankruptcy Code”) and Rules 2002, 9007, 9008, 9010(b), 9013 and 9014

   of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and hereby requests that

   copies of all notices given or required to be given in this case and all papers served or required to

   be served in this case be transmitted to:

    Paul J. Goodwine                                  Lindsey M. Johnson
    pgoodwine@loopergoodwine.com                      ljohnson@loopergoodwine.com
    LOOPER GOODWINE P.C.                              LOOPER GOODWINE P.C.
    650 Poydras Street, Suite 2400                    650 Poydras Street, Suite 2400
    New Orleans, Louisiana 70130                      New Orleans, Louisiana 70130
    Telephone: (504) 503 – 1500                       Telephone: (504) 503 – 1500
    Facsimile: (504) 503-1501                         Facsimile: (504) 503-1501

            PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109 of the Bankruptcy

   Code, the foregoing request includes not only the notices and papers referred to in the Bankruptcy

   Rules and the Bankruptcy Code provisions specified above, but also includes without any

   limitation, any notice, application, motion, petition, request, complaint or demand, whether formal

   or informal, whether written or oral, whether transmitted or conveyed by mail, hand or courier




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   delivery, telephone, telegraph, telecopy, telex, electronically or otherwise filed with regard to this

   case and any other proceedings herein which affect or seek to affect, in any way, the debtor or

   property or proceeds in which the debtor may claim or have an interest.

            PLEASE TAKE FURTHER NOTICE that this Notice is not intended to be, and shall

   not constitute, consent by BP to the Bankruptcy Court’s subject matter jurisdiction, personal

   jurisdiction, or core jurisdiction.

            PLEASE TAKE FURTHER NOTICE that neither this Notice, any subsequent

   appearance (by pleading or otherwise), nor any participation in or in connection with this case is

   intended to waive (i) the right to have final orders in non-core matters entered only after de novo

   review by a District Court Judge, (ii) the right to trial by jury in any case, controversy, or

   proceeding, (iii) the right to have the reference withdrawn by the District Court in any matter

   subject to mandatory or discretionary withdrawal, and (iv) any other rights, claims, actions,

   defenses, setoffs or recoupments to which BP is, or may be, entitled under agreements, in law or

   in equity, are expressly reserved.

            PLEASE TAKE FURTHER NOTICE that request is also made that the undersigned be

   added to any official service list for notice of all contested matters, adversary proceedings or any

   other proceedings in this case.

   Dated: May 16, 2023.




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                                                         Respectfully Submitted,

                                                         LOOPER GOODWINE P.C.

                                                         /s/ Paul J. Goodwine
                                                         Paul J. Goodwine (La. Bar No. 23757)
                                                         Lindsey M. Johnson (La. Bar No. 34610)
                                                         650 Poydras Street, Suite 2400
                                                         New Orleans, Louisiana 70130
                                                         Telephone: (504) 503-1500
                                                         Facsimile: (504) 503-1501
                                                         Email: pgoodwine@loopergoodwine.com
                                                         Email: ljohnson@loopergoodwine.com

                                                         Regulatory Counsel for BP Energy
                                                         Company and BP Products North America
                                                         Inc.


                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 16th day of May 2023, a true and correct copy of the foregoing
   document was served via this Court’s CM/ECF system on all parties having consented to such
   electronic service in this case.

                                                           /s/ Paul J. Goodwine
                                                           Paul J. Goodwine




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